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         In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **           *
  BLUE CROSS & BLUE SHIELD OF                   *
  VERMONT,                                      *
                                                *
                      Plaintiff,                *
                                                *   No. 18-373C
             v.                                     Filed: October 3, 2020
                                                *
  UNITED STATES,                                *
                                                *
                      Defendant.                *
      * * * * * * * * * * * * * * * * **        *


                                         ORDER

        The court is in receipt of the parties October 2, 2020 joint motion to enter stipulated
final judgment. Pursuant to the parties’ joint motion to enter stipulated final judgment,
containing an agreed amount for judgment, the court enters judgment in favor of the plaintiff
in the amount of $7,203,738.83. The Clerk’s Office shall enter JUDGMENT consistent with
this Order.

       IT IS SO ORDERED.

                                                       s/Marian Blank Horn
                                                       MARIAN BLANK HORN
                                                                Judge
